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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       ED CV 22-1910 SB (MRW)                                  Date    January 18, 2023

 Title          Reeves v. City of Palm Springs



 Present:                    Hon. Michael R. Wilner, U.S. Magistrate Judge
                   James Muñoz                                                 n/a
                   Deputy Clerk                                      Court Reporter / Recorder

                Attorneys for Plaintiff:                              Attorneys for Defendant:

                          n/a                                                    n/a

 Proceedings:             ORDER TO SHOW CAUSE RE: DISMISSAL

      1.    This is a pro se civil rights action. In December, one of the municipal
defendants moved to dismiss the action for a variety of reasons. (Docket # 10.)

       2.     The Court directed Plaintiff Reeves to file and serve her response to the
motion by January 13. (Docket # 11.) The order also required Ms. Reeves to explain why
she failed to participate in the mandatory pre-motion conference required under the Local
Rules. The Court’s order specifically informed Plaintiff that failure to file timely materials
could result in the dismissal of the action under Federal Rule of Civil Procedure 41.

       3.    Plaintiff did not file a response by the deadline. The municipality filed a
notice observing that failure and requesting relief from the remainder of the motion
practice schedule. (Docket # 18 at 2.)

      4.     Because Ms. Reeves is not an electronic filer (she likely files materials in
person or by U.S. Mail), the Court waited several days to see whether this unrepresented
party would file anything after the noticed deadline. She didn’t. The Court further
observes that Ms. Reeves apparently failed to respond to further e-mail inquiries from the
defense regarding her intentions in this civil case. (Id.)

      5.    The request of the City of Beaumont for relief is therefore GRANTED. The
February 1 hearing on the dismissal motion is VACATED – no appearance is required for
any party.

       6.    Instead, as a final accommodation to a self-represented litigant, Ms. Reeves is
ordered to show cause why the action should not be dismissed in its entirety for failure to
oppose the motion and for failure to comply with Court orders. Fed. R. Civ. P. 41;
L.R. 7-12 (unopposed motion serves as consent to requested relief). Ms. Reeves will


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respond to this OSC by sworn written statement to be received by the Court no later than
February 8. After that, the Court will take the matter under review.

                                                 ***

       7.    The parallel motion of the City of Palm Springs is also taken OFF
CALENDAR pending the outcome of this OSC. To the extent other defendants appear in
the action, no responsive pleading will be required until further order of the Court. You
can essentially consider the action stayed at present.




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